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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                         CR No. 07-0614 RB

REBECCA CHRISTIE,
(a/k/a REBECCA WULF),

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER came before the Court on United States’ Motion to Exclude the Expert

Testimony of Dr. Deborah Davis, or in the Alternative, to Conduct a Daubert Hearing Concerning

the Admissibility of Her Testimony, filed September 21, 2009. (Doc. 205.) A hearing on this and

other pre-trial motions was held October 14, 2009. Dr. Davis was Defendant Sgt. Wulf’s proposed

witness, and the Defense anticipated that she would testify that Sgt. Wulf’s statements to FBI

Special Agent Oakes were not admissions of guilt, but rather the product of an interrogation

technique. At this time, however, Defendant Christie does not intend to call Dr. Davis to testify.

WHEREFORE,

       Having considered the submissions of counsel, relevant law, and being otherwise fully

advised, IT IS HEREBY ORDERED that the United States’ Motion to Exclude the Expert

Testimony of Dr. Deborah Davis, or in the Alternative, to Conduct a Daubert Hearing is

GRANTED AS TO REBECCA CHRISTIE.


                                                     ________________________________
                                                     ROBERT C. BRACK
                                                     UNITED STATES DISTRICT JUDGE
